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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA
fate - DME (yea)

STEVEN WEINSTEIN, Case No: Cu 13>
Plaintiff COMPLAINT FOR BENEFITS UNDER
AN EMPLOYEE WELFARE BENEFIT
VS. PLAN

METROPOLITAN LIFE INSURANCE
COMPANY; and, CITIGROUP
EMPLOYEE HEALTH AND WELFARE
BENEFIT PLAN,

Defendants.

 

 

Plaintiff alleges as follows:

1. This Court's jurisdiction is invoked pursuant to 28 U.S.C. §§ 1331, 1337
and 29 U.S.C. § 1132(a), (e), (f), and (g), of the Employee Retirement Income Security
Act of 1974, 29 U.S.C. § 1101, et seq. (hereafter "ERISA") as it involves a claim by
Plaintiff for Disability benefits under an employee benefit plan regulated and governed
under ERISA. Jurisdiction is predicated under these code sections as well as 28 U.S.C.
§ 1331 as this action involves a federal question.

2. The events or omissions giving rise to Plaintiff's claim occurred in this
judicial district, thus venue is proper here pursuant lo 28 U.S.C. § 1391(b)(2), and the

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1 ends of justice so require.
2 3. The ERISA statute at 29 U.S.C. § 1133, in accordance with Regulations of
3 the Secretary of Labor, provides a mechanism for internal appeal of benefit denials.
4 Those avenues of appeal have been exhausted.
5 4. Plaintiff is informed and believes and thereon alleges that the CITIGROUP
6 EMPLOYEE HEALTH AND WELFARE BENEFIT PLAN (“Plan”) is an employee welfare
7 benefit plan established and maintained by Citigroup Inc. to provide its employees and
8 those of its subsidiaries and affiliates, including Plaintiff, STEVEN WEINSTEIN (“MR.
9 WEINSTEIN”), with income protection in the event of a disability and is the Plan
10 Administrator.
11 5. Plaintiff alleges upon information and belief that Defendant,
12 METROPOLITAN LIFE INSURANCE COMPANY, is, and at all relevant times was, a
13 corporation duly organized and existing under and by virtue of the laws of the State of
14 New York, authorized to transact and transacting the business of insurance in this state,
i and, the insurer and Claims Administrator for the Plan.
16 6. Plaintiff further alleges that venue is proper in this district pursuant to 29
17 U.S.C. § 1132(e)(2)' in that defendant METLIFE, which fully insured the policy and which
18 is ultimately liable if Plaintiff is found disabled, may be found in this district. Since on or
19 about November 2, 1901, METLIFE has been registered as a corporation with the state of
20 California, has extensive contacts within the state, employs California residents, conducts
21 ongoing business within the state and therefore, may be found within the state.
22 7. At all relevant times Plaintiff was a resident and citizen of the state of
23 California, an employee of Citigroup Inc., its successors, affiliates and/or subsidiaries,
24 and a participant in the Plan.
25 8. Based upon information and belief, Plaintiff alleges that at all relevant
26
ef ‘29 USC section 1132(e)(2) provides: “Where an action under this subchapter is brought in a district
28 court of the United States, it may be brought in the district where the plan is administered, where the

breach took place, or where a defendant resides or may be found, and process may be served in any
other district where a defendant resides or may be found.”

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times herein Plaintiff was covered under group disability policy number 113-7000-2-G
that had been issued by Defendant METLIFE to Citigroup Inc. to insure its Plan, and the
eligible participants and beneficiaries of the Plan, including Plaintiff. A copy of the
Certificate of Insurance issued pursuant to the subject Policy is attached hereto as
Exhibit "A".

9, Based upon information and belief, Plaintiff alleges that the subject Policy
promised to pay Plaintiff monthly long term disability benefits for a specified period of
time should he become disabled. Therefore, METLIFE both funds and decides whether
claimants will receive benefits under the Plan and as such suffers from a structural
conflict? which requires additional skepticism’.

10. Based upon information and belief, Plaintiff alleges that, according to the
terms of the Plan, if Plaintiff became disabled, METLIFE promised to pay long term

disability benefits to Plaintiff follows:

 

 

 

Term Provision
Elimination 13 weeks of Total Disability, which will not include any time when
Period
you return to active work.

 

 

 

* Where an administrator “both decides who gets benefits and pays for them, ... it has a direct financial
incentive to deny claims,” and therefore “labors under ... a conflict of interest.” Saffon v. Wells Fargo &
Co. Long Term Disability Plan, 511 F.3d 1206, 1211 cg” Cir. 2008). See also Metropolitan Life Ins. Co. v.
Glenn, 128 S. Ct. 2343, 2349-50 (2008) (dual role where administrator both determines eligibility for
benefits and funds benefits creates a conflict of interest). Pursuant to Abatie, “a reviewing court must
always consider the inherent conflict that exists when a plan administrator both administers and funds it.”
Saffon, 511 F.3d at 1211 (quoting Abatie v. Alta Health & Life Ins. Co., 458 F.3d 955, 967 (9" Cir.
2006)(emphasis added). “When reviewing a discretionary denial of benefits by a plan administrator who is
subject to a conflict of interest, [the Court] must determine the extent to which the conflict influenced the
administrator's decisions and discount to that extent the deference ... accorded the administrator’s
decision.” /d. at 1212. As the Supreme Court recently explained, the “conflict of interest... should prove
more important (perhaps of great importance) where circumstances suggest a higher likelihood that it
affected the benefits decision, including, but not limited to cases where an insurance company
administrator has a history of biased claims administration.” Glenn, 128 S. Ct. at 2351.

* We must judge the reasonableness of the plan administrator skeptically where, as here, the
administrator has a conflict of interest. Even without the special skepticism we are to apply in cases of
conflict of interest, deference to the plan administrator's judgment does not mean that the plan prevails.
“Deference’ is not a “talismanic word] ] that can avoid the process of judgment.” The conflict of interest
requires additional skepticism because the plan acts as judge in its own cause. [Sa/omaa v. Honda Long
Term Disability Plan, 642 F.3d 666 (9"" Cir. 2011)]

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Term

Provision

 

Monthly Benefit

60% of the first $500,000 of your Predisability Earnings, reduced by

Other Income Benefits.

 

 

Maximum $25,000
Monthly Benefit ee
Minimum 10% of the Monthly Benefit before reductions for Other Income

Monthly Benefit

Benefits or $100, whichever is greater.

 

Maximum
Benefit Duration

Age on Date Disability Starts | Maximum Benefit Duration

Less than 60 | To age 65

 

 

 

 

 

Disability

 

Class 1: “Disabled” or “Disability” means that, due to sickness,
pregnancy or accidental injury, you are receiving Appropriate Care
and Treatment from a Doctor on a continuing basis; and

1. During the Elimination Period you are Totally Disabled;

“Totally Disabled” or “Total Disability” means that, due to sickness,
pregnancy or accidental injury, you are receiving Appropriate Care
and Treatment from a Doctor on a continuing basis, and during
your Elimination Period, you are unable to perform your Own
Occupation for any employer in your Local Economy.

2. after your Elimination Period and during the next 24 month
period, you are unable to earn more than 80% of your Predisability
Earnings at your Own Occupation for any employer in your Local
Economy; or

3. after the 24 months period, you are unable to earn more than
60% of your Predisability Earnings from any employer in your Local
Economy at any gainful occupation for which you are reasonable
qualified taking into account your training, education, experience

and Predisability Earnings.

Class 2: “Disabled” or “Disability” means that, due to sickness,

 

 

 

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Provision

 

 

 

 

pregnancy or accidental injury, you are receiving Appropriate Care
and Treatment from a Doctor on a continuing basis; and

1. During the Elimination Period you are Totally Disabled:

2. after your Elimination Period and during the next 60 month
period, you are unable to earn more than 80% of your Predisability

Earnings at your Own Occupation for any employer in your Local

3. after the 60 month period, you are unable to earn more than 60%
of your Predisability Earnings from any employer in your Local
Economy at any gainful occupation for which you are reasonable

qualified taking into account your training, education, experience

Class 3: “Disabled” or “Disability” means that, due to sickness,
pregnancy or accidental injury, you are receiving Appropriate Care
and Treatment from a Doctor on a continuing basis and

1. During the Elimination Period you are Totally Disabled:

2. after your Elimination Period, you are unable to earn more than

80% of your Predisability Earnings at your Own Occupation from

Your loss of earnings must be a direct result of your sickness,
pregnancy or accidental injury. Economic factors such as, but not
limited to, recession, job obsolescence, pay cuts and job-sharing

will not be considered in determining whether you meet the loss of

 

Term
Economy; or
and Predisability Earnings.
any employer in your Local Economy.
earnings test.
11.

Prior to his disability under the terms of the Plan, on or about May 13,

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2011, Plaintiff, who had been employed with Citigroup, its successors, affiliates and/or
subsidiaries, for over fourteen (14) years, was working as a branch manager. This
occupation naturally required a high level of cognitive ability, sustained concentration
and attention to detail along with an ability to sit for extended periods of time.

12. However, Plaintiff became disabled under the terms of the Plan and
subsequently submitted a claim to METLIFE for payment of disability benefits.

13. But, on or about October 10, 2011, METLIFE unreasonably, unlawfully,
capriciously and arbitrarily denied his long term disability claim. And, on or about April
19, 2012, METLIFE unreasonably, unlawfully, capriciously and arbitrarily upheld its
denial of the disability claim.

14. According to METLIFE’s denial letters:

e October 10, 2011: “Your claim has been denied effective August
15, 2011.”

e April 19, 2012: “...we have determined...the decision to deny LTD
benefits was appropriate... You...have the right to bring a civil suit
under Section 502 (a) of the Employee Retirement Income Security
Act of 1974.”

15. In so doing, METLIFE unreasonably, unlawfully, arbitrarily and
capriciously failed to have Plaintiff independently examined’: failed to timely identify the
medical personnel who reviewed Plaintiff's file; relied upon the opinions of medical

personnel who did not examine Plaintiff, and were financially biased and/or not qualified

 

* This in and of itself may be indicative of an attempt by an insurance company to avoid paying out on a
legitimate claim. See Salomaa v. Honda Long Term Disability Plan, No. 08-55426, 2011 WL 768070 at *8
(9th Cir. Mar. 7, 2011) [*22] ("An insurance company may choose to avoid an independent medical
examination because of the risk that the physicians it employs may conclude that the claimant is entitled
to benefits. The skepticism we are required to apply because of the plan's conflict of interests requires us
to consider the possibility in this case.")

Additionally, it is well established in case law that the opinions of psychiatrists and psychologists who
have not examined the individual should be disregarded. The reasoning for this is that, “[u]nlike
cardiologists or orthopedists, who can formulate medical opinions based upon objective findings derived
from objective clinical tests, the psychiatrist typically treats his patient’s subjective symptoms.” Sheehan
v. Metropolitan Life Ins. Co., 368 F. Supp. 2d 228, 255 (S.D.N.Y. 2005).

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to refute the findings of Plaintiff's board certified physicians; relied upon medical record
reviews conducted through a company known as RRS (based upon information and
belief, Plaintiff alleges that any subsequent report from RRS is immediately suspect as
RRS’ financial success is clearly dependent upon its relationship with insurance
companies, such as Defendants, which would not continue if RRS’ physicians were
generating opinions unfavorable to them); failed to take into consideration the effect of
chronic pain® upon Plaintiff's ability to perform the duties of Plaintiffs own, or any,
occupation; failed to take into consideration the effect of fatigue® upon Plaintiff's ability
to perform the duties of Plaintiff's own, or any, occupation; failed to take into
consideration the effects of the prescribed medication that Plaintiff was taking upon
Plaintiff's ability to perform the duties of Plaintiff's own, or any, occupation; relied strictly
upon physical requirements of occupations labeled as “sedentary” instead of taking into
consideration the non exertional requirements of Plaintiff's own, or any, occupation;
required a statement of the intensity, frequency, severity and duration of symptoms to
demonstrate impairment not required by the Plan; and, misrepresented the terms of the

Policy’.

 

° Pain causes impairment in focus and concentration, which in turn causes impairments in work functions.
Thus, even though a sedentary job might otherwise be appropriate in terms of the physical requirements,
it is not workable due to the pain.

° Regular fatigue in and of itself is a highly limiting factor in regards to employability. it adversely affects
job performance, both in the quality of work performed, and in the amount that is accomplished, due to
lower productivity and missed time. Studies on the effects of fatigue on work performance report factors
including: reduced ability to do complex planning; reduced decision making ability; reduced
communication skills; reduced productivity/performance; reduced attention and vigilance; reduced ability
to handle stress on the job; reduced reaction time - both in speed and thought loss of memory or the
ability to recall details; failure to respond to changes in surroundings or information provided; inability to
stay awake; increased tendency for risk-taking; increased forgetfulness; increased errors in judgment;
increased sick time, absenteeism, rate of turnover; increased accident rates. Because of this, it is
extremely difficult for persons with high levels of fatigue to maintain regular employment.

“In its denial letters MetLife stated that “The medical...does not support a global impairment...” At the
time that MetLife wrote these letters it knew, or should have known, that the Plan did not require “global
impairment” in order to qualify for benefits. Additionally, according to a recent court case: “Many medical
conditions [such as pain] depend for their diagnosis on patient reports of pain or other symptoms, and
some cannot be objectively established until autopsy. In neither case can a disability insurer condition
coverage on proof by objective indicators... where the condition is recognized yet no such proof is

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1 16. Additionally, METLIFE knew or should have known that the documentation

2 submitted to and/or obtained by METLIFE clearly substantiated his disability, including,

3 but not limited to, the following:

4 Date Document/Finding

5 06/13/2011 | LETTER FROM METLIFE TO MR. WEINSTEIN

6 Your claim for salary continuation benefits under the California Voluntary

7 Disability Plan has been approved for the period from May 16, 2011

_| through June 25, 2011.

8 07/07/2011 | LETTER FROM METLIFE MR. WEINSTEIN

2 Your claim for salary continuation benefits under the California Voluntary
10 Disability Plan has been approved for the period from May 16, 2011

through August 4, 2011.
11 09/08/2011 | INTERNAL METLIFE NOTE REGARDING SOCIAL SECURITY

 

 

 

42 APPROVAL

13 EE [Plaintiff] is approved for SSDI°...

44 10/17/2011 | APPEAL LETTER FOR MR. WEINSTEIN

15 Because of my nerve damage, diabetes, and gout’, the doctors have not
been able to determine the cause or the cure for the pain... additionally,

16 due to the pain, that does not stop with the medication, | have great

47 difficulty sleeping at night... | am now taking Vicodin to try to ease the
pain.

 

 

18 12/28/2011 | LETTER FROM METLIFE TO MR. WEINSTEIN

 

 

 

 

 

19 Your claim for disability benefits from the Voluntary Plan of Citigroup has
20~—OL: been extended through May 10, 2012...
21

 

22 possible...conditioning an award on the existence of evidence that cannot exist is arbitrary and
capricious.” Salomaa v. Honda Long Term Disability Plan, 642 F.3d 666 cg" Cir. 2011).

: According to the Social Security definition of disability, which is more stringent than the subject Plan’s

24 Disability definition: “A person is disabled, and thereby eligible for Social Security disability insurance
benefits and Supplemental Security Income (SSI), "only if his physical or mental impairment or
25 impairments are of such severity that he is not only unable to do his previous work but cannot,

considering his age, education, and work experience, engage in any other kind of substantial gainful work
26 which exists in the national economy.“ 42 U.S.C. §§423(d)(2)(A), 1382c(a)(3)(B) (emphasis added).

 

27 ° Gout is a kind of arthritis that occurs when uric acid builds up in blood and causes joint inflammation.
Symptoms of gout, which may develop in people with diabetes, include pain starting suddenly, often
28 during the night and is often described as throbbing, crushing, or excruciating. Some people may develop

chronic gout. Those with chronic arthritis develop joint damage and loss of motion in the joints. They will
have joint pain and other symptoms most of the time.

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02/13/2012

~ 04/04/2012

 

MEDICAL RECORD REVIEW ON BEHALF OF METLIFE
He has physical fatigue, mental stress and is in pain.

In a Physician Questionnaire dated June 08, 2011, the primary care
physician noted that the claimant is unable to work at all...

An Attending Physician Statement completed on November 23, 2011 by
another internal medicine physician states that the claimant is unable to
work at all due to paraplegia, diabetes with neurological manifestation,
and atony”® of bladder.

The neurologist submitted an Attending Physician Statement on January
20, 2012 for diagnoses of cauda equina syndrome" and

neuropathy... The form states that the claimant is able to work for only
one hour per day.

The claimant has weakness, sensory changes and pain in his peroneal
area and legs.... The sensory changes in the peroneal area make sitting
uncomfortable.

..., the claimant was receiving appropriate medical and neurological
care...

The claimant reported drowsiness due to medication in the letter he
wrote in October 2011.

Discussion with Attending Provider

... Dr. Cardenas said that the claimant has trouble working even in a
sedentary setting because of the pain of the neuropathy.

LETTER FROM DR. CARDENAS TO WHOM IT MAY CONCERN

Patient Steven Weinstein is currently a neurology patient... He has
suffered from a cauda equina syndrome in the past leading to significant

 

*° Atony: Lack of normal tone or tension; flaccidity.

" The collection of nerves at the end of the spinal cord is known as the cauda equina, due to its
resemblance to a horse's tail. The spinal cord ends at the upper portion of the lumbar (lower back) spine.
The individual nerve roots at the end of the spinal cord that provide motor and sensory function to the
legs and the bladder continue along in the spinal canal. The cauda equina is the continuation of these
nerve roots in the lumbar region. These nerves send and receive messages to and from the lower limbs
and pelvic organs. Cauda equina syndrome (CES) occurs when the nerve roots of the cauda equina are
compressed and disrupt motor and sensory function to the lower extremities and bladder.

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sensory loss and weakness... Recently as a result of his diabetes has
developed a severe painful small fiber neuropathy"*. Unfortunately,
because of his baseline disability, he has not been able to compensate
for this neuropathy.

| do feel that he is permanently disabled based on his current exam and
symptoms. Walking and standing during a normal 8 hour work day will
be very difficult for this patient, in fact impossible. Most positions are
uncomfortable for this patient (sitting for an extended amount of time,
even with breaks).

 

 

04/13/2012

LETTER FROM DR. LANDERS TO MR. WEINSTEIN

In view of your chronic cauda equina syndrome, with significant sensory
loss and weakness, in association with severe, painful small fiber
neuropathy with diabetes, your neurologist, Dr. Cardenas, has provided
the opinion that you are permanently disabled.

Her letter to your insurance company discusses the reasoning behind
her opinion, and | agree with her assessment.

 

 

04/19/2012

17,

 

LETTER FROM METLIFE TO MR. WEINSTEIN

You were diagnosed with major depressive disorder, anxiety disorder,
paraparesis lower extremity (LE), pain due to nerve damage status post
1996 spinal cord injury, neuropathy, diabetes type 2, LE edema, gout
anemia, back pain, benign prostatic hypertrophy, hyperlipidemia,
hypertension, obesity, osteopenia, and tachycardia.

The consultant board certified in Neurology and Internal Medicine
held...a peer-to-peer discussion with Dr. Cardenas on February 6,
2012.... Dr. Cardenas... stated that you had trouble working even in a
sedentary setting because of the neuropathy pain.

To date, even though Plaintiff has been disabled, METLIFE has not paid

plaintiff any disability benefits beyond the end of the LTD elimination period. The

arbitrary and capricious nature of METLIFE ’s denial decision is evidenced by, but not

 

7 Peripheral nerve fibers can be classified according to size, which correlates with the degree of
myelination. Small fibers include myelinated A-delta fibers and unmyelinated C fibers, which innervate
skin (somatic fibers) and involuntary muscles, including cardiac and smooth muscles (autonomic fibers).
Together, they mediate pain, thermal sensation, and autonomic function. Small fiber neuropathy results
from selective impairment of small myelinated A-delta and unmyelinated C fibers. It is increasingly being
recognized as a major cause of painful burning sensations in the feet. Diabetes mellitus is the most
common identifiable cause of small fiber neuropathy. Symptoms are pain, burning, numbness, and
autonomic dysfunction (lack of sweating) in the hands and feet in a stocking-glove distribution. Symptoms
are usually worse at night and often affect sleep.

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limited to, the following:

18.

METLIFE engaged in procedural violations of its statutory obligations
under ERISA, including, but not limited to, failing to promptly identify the
medical consultants who reviewed his file; failing to timely advise
Plaintiff of what specific documentation it needed from him to perfect his
claim; and, failing to provide a complete copy of all documents, records,
and other information relevant to his claim despite a request by Plaintiff
in violation of 29 C.F.R. Section 2560.530-1(h)(2)(iii);

METLIFE did not give proper weight to the Social Security
Administration's continued finding that Plaintiff was disabled from any
occupation"*:

METLIFE ignored the obvious, combed the record and took selective
evidence out of context as a pretext to deny Plaintiff's claim; and,
METLIFE ignored the opinions of Plaintiff's board certified treating
physicians and/or misrepresented the opinions of Plaintiff's treating
physicians. Deference should be given to the treating physician’s
opinions as there are no specific, legitimate reasons for rejecting the
treating physicians’ opinions which are based on substantial evidence
in the claim file. Further, METLIFE’s highly conflicted physician’s
opinion does not serve as substantial evidence, as it is not supported
by evidence in the claim file, was not issued by a physician with the
same level of medical expertise as the board certified treating
physicians, nor is it consistent with the overall evidence in the claim

file.

For all the reasons set forth above, the decision to deny disability

insurance benefits was arbitrary, capricious, wrongful, unreasonable, irrational, sorely

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contrary to the evidence, contrary to the terms of the Plan and contrary to law. Clearly,
METLIFE abused its discretion in deciding to deny this claim as the evidence shows its
denial decision was arbitrary and capricious. Further, METLIFE ’s denial decision and
actions heighten the level of skepticism with which a court views a conflicted
administrator’s decision under Abatie v. Alfa Health & Life Insurance Co., 458 F.3d 955
(9"" Cir. 2006) and Metropolitan Life Insurance Co. v. Glenn, 128 S. Ct. 2342 (2008).

19. Additionally, ERISA imposes higher-than-marketplace quality standards
On insurers. It sets forth a special standard of care upon a plan administrator, namely,
that the administrator “discharge [its] duties” in respect to discretionary claims
processing “solely in the interests of the participants and beneficiaries” of the plan, §
1104(a)(1); it simultaneously underscores the particular importance of accurate claims
processing by insisting that administrators “provide a ‘full and fair review’ of claim
denials,” Firestone, 489 U.S., at 113 (quoting § 1133(2)); and it supplements
marketplace and regulatory controls with judicial review of individual claim denials, see
§ 1132(a)(1)(B).

20. Asa direct and proximate result of METLIFE’s failure to provide Plaintiff
with disability benefits, Plaintiff has been deprived of said disability benefits beginning
on or about the end of the LTD elimination period to the present date.

21. Asa further direct and proximate result of the denial of benefits, Plaintiff
has incurred attorney fees to pursue this action, and is entitled to have such fees paid
by defendants pursuant to 29 U.S.C. § 1132(g)(1), ERISA § 502(g)(1).

22. Acontroversy now exists between the parties as to whether Plaintiff is
disabled as defined in the Plan. Plaintiff seeks the declaration of this Court that he
meets the Plan definition of disability and consequently he is entitled to all benefits from
the Plan to which he might be entitled while receiving disability benefits including, but

not limited to, any medical, vision and dental benefits, life insurance and pension, with

 

' A Plan administrator may not arbitrarily disregard a favorable ruling by the Social Security
Administration as, at a minimum, it provides support for the conclusion that an administrative agency

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reimbursement of all expenses and premiums paid for such benefits from the
termination of benefits to the present. In the alternative, Plaintiff seeks a remand for a
determination of Plaintiff's claim consistent with the terms of the Plan.

WHEREFORE, Plaintiff prays for relief against Defendants as follows:

1. An award of benefits in the amount not paid Plaintiff beginning on or about
the end of the LTD elimination period, together with interest at the legal rate on each
monthly payment from the date it became due until the date it is paid; plus all other
benefits from the Plan to which he might be entitled while receiving disability benefits
including, but not limited to, any medical, vision and dental benefits, life insurance and
pension, with reimbursement of all expenses and premiums paid for such benefits or, in
the alternative, a remand for a determination of Plaintiff's claim consistent with the terms
of the Plan;

2. An order determining Plaintiff is entitled to future disability
payments/benefits so long as he remains disabled as defined in the Plan;

3. For reasonable attorney fees incurred in this action; and,

4. For such other and further relief as the Court deems just and proper.

DarrasLaw

Dated: February 11, 2013

 
   
 

. DARRA
LISSA A. MARTINEZ
SUSAN B. GRABARSK
PHILLIP S. BATHER
Attorneys for Plaintiff
STEVEN WEINSTEIN

 

charged with examining Plaintiffs medical records found objective support for its favorable decision

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COMPLAINT

 
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LONG TERM DISABILITY INSURANCE

CITIGROUP INC.

Effective January 1, 2011

ertificate Number 6

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INTRODUCTION

We are pleased to present you with a Certificate of Insurance for group disability insurance. This Certificate
states your benefits and summarizes some special services available to you at no additional cost. All of us
appreciate the financial protection that group benefit plans provide in the event of illness or injury. Group
disability insurance is an especially important benefit since it replaces a reasonable portion of your income

lost due to a disability.

Your Employer recognizes the value of your services and the impact your absence can have on the
organization. Therefore your benefit plan has been designed with a goal of rehabilitation and return to work
in mind. The plan offers financial incentives for returning to work, while still receiving a benefit.

The benefits outlined in this Certificate are the foundation for comprehensive managed disability services.
These special services focus on your abilities, versus a disability, and are available to you at no additional
cost. They are tailored to meet your individual needs and are designed to help you to return to work as soon
as possible. Managed disability services may also coordinate with other benefit programs in which you

participate.
Your comprehensive disability program includes:

Financial Incentives for returning to work.

Rehabilitation Program that focuses on vocational rehabilitation, which means identifying the necessary
training, therapy, job modifications and accommodations that can help you return to work.

Early Assistance Program offering rehabilitation assistance both before and after you file a claim for Long
Term Disability Benefits.

Social Security Assistance Program to help make the Social Security Insurance application and approval
process easier for you.

Easy Claim Application Process that may be started simply by calling an "800" claims hotline or sending
us a claim form. Initial submission of the claim should be made no later than 12 weeks following your

original date of disability or as soon as reasonably possible thereafter.

This Certificate is in an easy-to-read format and we urge you to read it carefully. We also recommend you
keep it with your other important records for future reference. If you have any questions about the Certificate
or the benefits it provides, please contact your Employer.

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MetLife

Metropolitan Life Insurance Company
200 Park Avenue, New York, New York 10166

CERTIFICATE OF INSURANCE
for the Employees of

Citigroup Inc.
(called the Employer)

This is your Certificate of Insurance for Long Term Disability Insurance as long as you are insured under
This Plan. The Group Policy and this Certificate may be changed or canceled according to the terms,
conditions and provisions of the Group Policy. This Certificate describes the benefits under the Plan in effect
as of January 1, 2011. Any prior Certificate relating to the coverage set forth herein is void.

MetLife in its discretion has authority to interpret the terms, conditions, and provisions of the entire contract.
This includes the Group Policy, Certificate and any Amendments.
The Group Policy is delivered in and administered according to the laws of the governing jurisdiction.

Whenever a reference to "you" or "your" is made in this Certificate of Insurance, it means the covered
Employee. Reference to "we", "us" or “our” means MetLife. Reference to "This Plan" means that part of the
Employer's plan of employee benefits that is insured by MetLife.

Cle FA ben

C. Robert Henrikson
Chairman of the Board, President and Chief Executive Officer

Group Policy No.: 1137000-2-G

Florida Residents: The benefits of the policy providing your coverage are governed primarily by
the law of a state other than Florida.

For Maryland residents: The group insurance policy providing coverage under
this certificate was issued in a jurisdiction other than Maryland and may not
provide all of the benefits required by Maryland law.

Form G.24303-Cert.

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EXHIBIT AD
For Texas Residents:
IMPORTANT NOTICE

To obtain information or make a complaint:

You may call MetLife’s toll-free telephone
number for information or to make a complaint at

1-800-638-5433

You may contact the Texas Department of
Insurance to obtain information on companies,
coverages, rights or complaints at

1-800-252-3439

You may write the Texas Department of
Insurance

P.O, Box 149104

Austin, TX 78714-9104

Fax # 512 - 475-1771

Web: http://www.tdi.state.tx.us

Email: ConsumerProtection@tdi.state.tx.us

PREMIUM OR CLAIM DISPUTES: Should you
have a dispute concerning your premium or
about a claim you should contact MetLife first. If
the dispute is not resolved, you may contact the
Texas Department of Insurance.

ATTACH _ THIS NOTICE TO YOUR
CERTIFICATE: This notice is for information
only and does not become a part or condition of
the attached document.

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Para Residentes de Texas:
AVISO IMPORTANTE

Para obtener informacién o para someter una
queja:

Usted puede llamar al numero de teléfono gratis
de MetLife para informaci6n o para someter una
queja al

1-800-638-5433

Puede comunicarse con el Departamento de
Seguros de Texas para obtener informacion
acerca de compafiias, coberturas, derechos o
quejas al

1-800-252-3439

Puede escribir al Departamento de Seguros de
Texas

P.O. Box 149104

Austin, TX 78714-9104

Fax # 512 - 475-1771

Web: http://www. tdi.state.tx.us

Email: ConsumerProtection@tdi.state.tx.us

DISPUTAS SOBRE PRIMAS O RECLAMOS:
Si tiene una disputa concerniente a su prima oa
un reclamo, debe comunicarse con MetLife
primero. Si no se resuelve la disputa, puede
entonces comunicarse con el departamento
(TDN.

UNA ESTE AVISO A SU CERTIFICADO: Este
aviso es solo para proposito de informacion y no
se convierte en parte o condicién del documento
adjunto.

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Arkansas residents please be advised of the following:
IMPORTANT NOTICE

IF YOU HAVE A QUESTION CONCERNING YOUR COVERAGE OR A CLAIM,
FIRST CONTACT YOUR GROUP EMPLOYER OR GROUP ACCOUNT
ADMINISTRATOR. IF, AFTER DOING SO, YOU STILL HAVE A CONCERN, YOU
MAY CALL METLIFE'S TOLL-FREE TELEPHONE NUMBER:

1-800-638-5433

IF YOU ARE STILL CONCERNED AFTER CONTACTING BOTH YOUR GROUP
EMPLOYER AND METLIFE, YOU SHOULD FEEL FREE TO CONTACT:

ARKANSAS INSURANCE DEPARTMENT
CONSUMER SERVICES DIVISION
1200 WEST THIRD STREET
LITTLE ROCK, ARKANSAS 72201-1904
(501) 371-2640 or (800) 852-5494

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California residents please be advised of the following:
IMPORTANT NOTICE

TO OBTAIN ADDITIONAL INFORMATION, OR TO MAKE A COMPLAINT,
CONTACT METLIFE AT:

METROPOLITAN LIFE INSURANCE COMPANY
200 PARK AVENUE
NEW YORK, NY 10166
ATTN: CORPORATE CONSUMER RELATIONS DEPARTMENT
1-800-638-5433

IF, AFTER CONTACTING METLIFE REGARDING A COMPLAINT, YOU FEEL
THAT A SATISFACTORY RESOLUTION HAS NOT BEEN REACHED, YOU MAY
FILE A COMPLAINT WITH THE CALIFORNIA INSURANCE DEPARTMENT AT:

CALIFORNIA DEPARTMENT OF INSURANCE
300 SOUTH SPRING STREET
LOS ANGELES, CA 90013
1-800-927-4357 (within California)
4-213-897-8921 (outside California)

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Georgia residents please be advised of the following:
IMPORTANT NOTICE

The laws of the state of Georgia prohibit insurers from unfairly discriminating
against any person based upon his or her status as a victim of family violence.

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Idaho residents please be advised of the following:
IMPORTANT NOTICE

IF YOU HAVE A QUESTION CONCERNING YOUR COVERAGE OR A CLAIM,
FIRST CONTACT YOUR GROUP EMPLOYER. IF, AFTER DOING SO, YOU STILL
HAVE A CONCERN, YOU MAY CALL METLIFE’S TOLL-FREE TELEPHONE

NUMBER:

1-800-638-5433

IF YOU ARE STILL CONCERNED AFTER CONTACTING BOTH YOUR GROUP
EMPLOYER AND METLIFE, YOU SHOULD FEEL FREE TO CONTACT:

IDAHO DEPARTMENT OF INSURANCE
CONSUMER AFFAIRS
700 WEST STATE STREET, 3°° FLOOR
PO BOX 83720
BOISE, IDAHO 83720-0043
1-800-721-3272 or www.DOIl.Idaho.gov

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Utah residents please be advised of the following:

NOTICE TO POLICYHOLDERS

Insurance companies licensed to sell life insurance, health insurance, or annuities in the State of Utah are
required by law to be members of an organization called the Utah Life and Health Insurance Guaranty
Association ("ULHIGA"). If an insurance company that is licensed to sell insurance in Utah becomes
insolvent (bankrupt), and is unable to pay claims to its policyholders, the law requires ULHIGA to pay some
of the insurance company's claims. The purpose of this notice is to briefly describe some of the benefits and

limitations provided to Utah insureds by ULHIGA.

PEOPLE ENTITLED TO COVERAGE

You must be a Utah resident.

You must have insurance coverage under an individual or group policy.

POLICIES COVERED

ULHIGA provides coverage for certain life, health and annuity insurance policies.

EXCLUSIONS AND LIMITATIONS

Several kinds of insurance policies are specifically excluded from coverage. There are also a number of
limitations to coverage. The following are not covered by ULHIGA:

Coverage through an HMO.
Coverage by insurance companies not licensed in Utah.

Self-funded and self-insured coverage provided by an employer that ts only administered by
an insurance company.

Policies protected by another state's Guaranty Association.
Policies where the insurance company does not guarantee the benefits.
Policies where the policyholder bears the risk under the policy.

Re-insurance contracts.

Annuity policies that are not issued to and owned by an individual, unless the annuity policy is
issued to a pension benefit plan that is covered.

Policies issued to pension benefit plans protected by the Federal Pension Benefit Guaranty
Corporation.

Policies issued to entities that are not members of the ULHIGA, including health plans,
fraternal benefit societies, state pooling plans and mutual assessment companies.

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LIMITS ON AMOUNT OF COVERAGE

Caps are placed on the amount ULHIGA will pay. These caps apply even if you are insured by more than
one policy issued by the insolvent company. The maximum ULHIGA will pay is the amount of your coverage

or $500,000 — whichever is lower. Other caps also apply:
$100,000 in net cash surrender values.
$500,000 in life insurance death benefits (including cash surrender values).
$500,000 in health insurance benefits.

$200,000 in annuity benefits — if the annuity is issued to and owned by an individual or the
annuity is issued to a pension plan covering government employees.

$5,000,000 in annuity benefits to the contract holder of annuities issued to pension plans
covered by the law. (Other limitations apply).

Interest rates on some policies may be adjusted downward.

DISCLAIMER

PLEASE READ CAREFULLY:

; COVERAGE FROM ULHIGA MAY BE UNAVAILABLE UNDER THIS
POLICY. OR, IF AVAILABLE, IT MAY BE SUBJECT TO SUBSTANTIAL LIMITATIONS
OR EXCLUSIONS. THE DESCRIPTION OF COVERAGES CONTAINED IN THIS
DOCUMENT IS AN OVERVIEW. IT IS NOT A COMPLETE DESCRIPTION. YOU
CANNOT RELY ON THIS DOCUMENT AS A DESCRIPTION OF COVERAGE. FOR A
COMPLETE DESCRIPTION OF COVERAGE, CONSULT THE UTAH CODE, TITLE

31A, CHAPTER 28.

: COVERAGE IS CONDITIONED ON CONTINUED RESIDENCY IN THE
STATE OF UTAH.

s THE PROTECTION THAT MAY BE PROVIDED BY ULHIGA IS NOTA
SUBSTITUTE FOR CONSUMERS' CARE IN SELECTING AN INSURANCE COMPANY
THAT IS WELL-MANAGED AND FINANCIALLY STABLE.

: INSURANCE COMPANIES AND INSURANCE AGENTS ARE REQUIRED
BY LAW TO GIVE YOU THIS NOTICE. THE LAW DOES, HOWEVER, PROHIBIT THEM
FROM USING THE EXISTENCE OF ULHIGA AS AN INDUCEMENT TO SELL YOU

INSURANCE.

; THE ADDRESS OF ULHIGA, AND THE INSURANCE DEPARTMENT
ARE PROVIDED BELOW.

Utah Life and Health Insurance
Guaranty Association
955 E. Pioneer Rd.
Draper, Utah 84114

Utah Insurance Department
State Office Building, Room 3110
Salt Lake City, Utah 84114

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Virginia residents please be advised of the following:

IMPORTANT INFORMATION REGARDING YOUR INSURANCE

in the event you need to contact someone about this insurance for any reason please
contact your agent. If no agent was involved in the sale of this insurance, or if you
have additional questions you may contact the insurance company issuing this
insurance at the following address and telephone number:

Metropolitan Life Insurance Company
200 Park Avenue
New York, New York 10166
Attn: Corporate Customer Relations Department

To phone in a claim related question, you may call Claims Customer Service at:
1-800-638-5433

If you have been unable to contact or obtain satisfaction from the company or the
agent, you may contact the Virginia State Corporation Commission's Bureau of
Insurance at:

Life and Health Division
Bureau of Insurance
P.O. Box 1157
Richmond, VA 23209

1-800-552-7945 - In-state toll-free
1-804-371-9691 - Out-of-state

Written correspondence is preferable so that a record of your inquiry is maintained.
When contacting your agent, company or the Bureau of Insurance, have your policy
number available.

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Wisconsin residents please be advised of the following:
KEEP THIS NOTICE WITH YOUR INSURANCE PAPERS

PROBLEMS WITH YOUR INSURANCE? - lf you are having problems with your
insurance company or agent, do not hesitate to contact the insurance company or
agent to resolve your problem.

Metropolitan Life Insurance Company
Corporate Consumer Relations Department
200 Park Avenue
New York, NY 10166
1-800-638-5433

You can also contact the OFFICE OF THE COMMISSIONER OF INSURANCE, a
state agency which enforces Wisconsin's insurance laws, and file a complaint. You
can contact the OFFICE OF THE COMMISSIONER OF INSURANCE by contacting:

Office of the Commissioner of Insurance
Complaints Department
P.O. Box 7873
Madison, WI! 53707-7873
1-800-236-8517 outside of Madison or 266-0103 in Madison.

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PLAN HIGHLIGHTS

This Plan Highlights section is a summary of your Long Term Disability Benefits and provisions. See the rest
of your Certificate for more informatian.

It is important to read the rest of your Certificate. It describes your benefits as well as any exclusions and
limitations that apply to these benefits. Please read it carefully. You should talk with your Employer if you

have any questions.

You will notice that some of the terms used in your Certificate begin with capital letters. These terms have
special meanings. They are explained in this Certificate.

EMPLOYEE ELIGIBILITY
Eligible Employee: a person who is employed on a full-time or part-time basis and paid for services by the
Employer:
1. scheduled to work for the number of hours each week as determined by the Employer;
2. at the Employer's location; and:
a. is paid via the electronic payroll system approved by the Employer if not located in Puerto Rico; or
b. is located in Puerto Rico, regardless of payroll system.
Class |: All Eligible Employees earning $50,000.99 or less.
Class Il: All Eligible Employees earning at least $50,001.00, up to and including $149,999.99.
Class II: All Eligible Employees earning $150,000.00, up to and including $500,000.00.

Employer includes Citigroup Inc. and each subsidiary, affiliate, division or branch that is listed in Exhibit 3 of
this Group Policy.

Eligibility Waiting Period:
Active Employees on and after January 1, 2011: None

Eligibility Date: January 1, 2011 or the date you become an Eligible Employee, whichever is later.

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LONG TERM DISABILITY BENEFITS

Monthly Benefit: 60% of the first $500,000 of your Predisability Earnings, reduced by Other Income
Benefits. Other Income Benefits are described in Section B. of Long Term Disability Benefits.

Maximum Monthly Benefit: $25,000

Minimum Monthly Benefit: 10% of the Monthly Benefit before reductions for Other Income Benefits or
$100, whichever is greater. The Minimum Monthly Benefit will not apply if you are in an Overpayment
situation or are receiving income from employment.

Elimination Period: 13 weeks of Total Disability, which will not include any time when you return to active
work.

Maximum Benefit Duration: The duration shown below:

Age on Date Maximum Benefit
Disability Starts Duration
Less than 60 To age 65
60 60 months
61 48 months
62 42 months
63 36 months
64 30 months
65 24 months
66 21 months
67 18 months
68 15 months
69 and over 42 months

Work Incentive:

Work while Disabled: No offset for employment earnings during the first 12 months after you have
satisfied your Elimination Period. However, your Monthly Benefit may be reduced if the total income
you are receiving exceeds 80% of your Predisability Earnings or Indexed Predisability Earnings.

Survivors Benefit: A lump sum equal to 6 times the Monthly Benefit before reductions for Other Income
Benefits.

Conversion Privilege: If your coverage under This Plan terminates (not related to retirement, as defined by
the Employer), you may be eligible to convert to a long term disability conversion plan.

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LIMITATIONS

Limitation for Pre-existing Conditions: Coverage for Pre-existing Conditions begins 12 months
after your Effective Date of coverage.

Limitation For Disabilities Due to Particular Conditions

Limitation for Disability due to Mental or Nervous Disorders or Diseases, and Drug, Alcohol
or Substance Abuse or Dependency:

24 Monthly Benefits in your lifetime, or the Maximum Benefit Duration, whichever is less. Benefits
may be paid beyond 24 months as described in the provision, subject to certain requirements.
Benefits for Drug, Alcohol or Substance Abuse or Dependency will end if you cease or refuse to
participate in a rehabilitative program.

CONTRIBUTIONS

If you are in Class I, your Long Term Disability Benefits are paid for by your Employer.

If you are in Class II or Hl your Long Term Disability Benefits are paid for by you.

BENEFITS CHECKLIST

In order to receive benefits under This Plan, you must provide to us at your expense, and subject to our
satisfaction, all of the following documents. These are explained in this Certificate. Initial submission of
these documents should be made no later than the 12th week following your original date of disability.

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Proof of Disability.
Evidence of continuing Disability.

Proof that you are under the Appropriate Care and Treatment of a Doctor throughout your Disability.

Information about Other Income Benefits.

Any other material information related to your Disability which may be requested by us.

Form G.24303-A

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EMPLOYEE ELIGIBILITY

Active Employee

You are an Active Employee if you:

1. are an Eligible Employee working for the Employer doing all the material duties of your
occupation at (i) your usual place of business; or (ii) some other location that your Employer's

business requires you to be;

and
2. are not a temporary or seasonal employee.
You will be deemed an Active Employee if:
1. you meet the above conditions; and

2. you are absent from work solely due to vacation days, holidays, scheduled days off, or approved
leaves of absence not due to Disability.

Effective Date of Coverage

If you are a member of Class I:
You will be covered on the later of the following dates:
1. your Eligibility Date as described in Plan Highlights; or

2. the date you meet the Active Employee requirements.

If you are a member of Class II or III:

You may participate in the benefit plan which your Employer has established. Under such plan, there are
rules regarding the time frames during which you may make a request to be covered under this certificate
with respect to benefits that are paid for by you. Your Employer can provide you with more information
regarding the benefits plan.

1. If you were hired as a Class | employee, and due to an increase in your Predisability Earnings, you
become a Class II or III, you will be automatically enrolled for coverage for the next calendar year as
a Class II or Ill Employee. Provided that you do not decline coverage, your coverage will be effective
on January 1 of the next calendar year.

2. If you were hired as a Class II or III employee, you will be automatically enrolled for coverage.
Provided that you do not decline coverage, you will be covered on the later of the following dates:
a. your Eligibility Date as described in Plan Highlights; or
b. the date you meet the Active Employee requirements.

If you do not wish to be enrolled, you must make a written request to the Employer declining coverage within
90 days of the Effective Date of Coverage in the manner specified by the Employer.

lf you previously declined coverage, and subsequently have a Qualifying Event, you may, within thirty-one
days of that Qualifying Event, make a request to become covered for benefits that are paid for by you under
this certificate. You will become covered on the first day of the month following the date of your request.
"Qualifying Event" means a change in your family status due to one or more of the following events:
marriage, including entering into a civil union partnership or a Domestic Partnership;
birth, adoption or placement for adoption of a dependent child;
CAHIBIT A’!

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3. divorce, legal separation or annulment;
4

death of a dependent. 000030

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If you previously declined coverage, and you make a subsequent request, unrelated to a Qualifying Event, to
be covered under this certificate, Evidence of Good Health must be given to us.

“Evidence of Good Health" is a statement providing your medical history. We will use this statement to
determine your insurability under this certificate. This statement must be provided to us at your expense.

If, during an annual enrollment period, subsequent to your initial eligibility period (new hire or after an
increase in your Predisability Earnings that moves you to Class II or Ill), you make a request to become
covered for benefits that are paid for by you under this certificate, Evidence of Good Health must be given to
us. If we determine your insurability under this certificate, you will become covered on the later of the

following:
a. the first day of the calendar year following the annual enrollment period; or
b. the date we state in writing.

Continuity of Coverage upon Replacement of Plans
in order to prevent a loss of coverage because of a transfer of insurance carriers, this certificate will

provide coverage for you if:

1. you were covered under the prior carrier's plan for long term disability income benefits that are
replaced by the Long Term Disability Benefits provided under this certificate at the time of

transfer, and

2. you are an Eligible Employee and you are not an Active Employee.
Coverage will only be provided if the required payment toward the cost of your coverage is made to us.

The benefit payable will be that which would have been paid by the prior carrier had coverage remained
in force, less any benefit for which the prior carrier is liable.

Changes in Amount of Monthly Benefit

The amount of your Monthly Benefit may change as a result of a change in your earnings or class. The
new Monthly Benefit amount:

1. will take effect on the January 1st following the change; and

2. will apply only to Disabilities commencing thereafter.

However, if you are not an Active Employee on the above date, the new Monthly Benefit amount will take
effect on the date you are again an Active Employee.

Form G.24303-B-CTG-2

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LONG TERM DISABILITY BENEFITS

A. Monthly Benefit

You will be paid a Monthly Benefit, in accord with Plan Highlights, if we determine that:

41. you are Disabled; and

2. you became Disabled while covered under This Plan.

Benefits will begin to accrue on the date following the day you complete your Elimination Period. Payment of

the Monthly Benefit will start at the end of the month after completion of the Elimination Period. Subsequent
payments will be made each month thereafter. Payment is based on the number of days you are Disabled

during each one month period.
Contributions are not required for the time that Monthly Benefits are payable.

After we determine that you are Disabled, your Monthly Benefits will not be affected by:

1. termination of This Plan;
2. termination of your coverage; or
3. any plan change that is effective after the date you became Disabled.

When Benefits End

Monthly Benefits will end on the earliest of the following dates:

1. the end of the Maximum Benefit Duration;

2. the end of the period specified in the Limitation for Disabilities Due to Particular Conditions;

3. the date you are no longer Disabled;

4. the date you fail to provide us with any of the information listed in Plan Highlights under Benefits
Checklist;

5. the day you die;

6. the date you fail to attend a medical examination requested by us as described in Medical
Examination.

If you are a member of Class I, your Monthly Benefits will end on the date you cease or refuse to participate
in a Rehabilitation Program approved by your Doctor as described in Work Incentive.

Elimination Period

Your Elimination Period begins on the day you become Disabled. It is a period of time during which no
benefits are payable. Your Elimination Period is shown in Plan Highlights. You must be under the
continuous care of a Doctor during your Elimination Period. You may temporarily recover from your
Disability during your Elimination Period. If you then become Disabled again due to the same or related
condition, you may not have to begin a new Elimination Period.

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Temporary Recovery During Your Elimination Period

If you retum to work for 30 days or less either full-time or part-time during your Elimination Period, those
days will count towards your Elimination Period. The Elimination Period will be extended by the amount of
time you have returned to active work. However, if you return to work for more than 30 days before
satisfying your Elimination Period, you will have to begin a new Elimination Period.

Temporary Recovery means you cease to be Disabled. During a period of Temporary Recovery you will not
qualify for any change in coverage caused by a change in any of the following:

1. the rate of earnings used to determine your Predisability Earnings; or
2. the terms, provisions, or conditions shown in your Certificate of Insurance.

Definition of Disability

If you are a member of Class |, "Disabled" or "Disability" means that, due to sickness, pregnancy or
accidental injury, you are receiving Appropriate Care and Treatment from a Doctor on a continuing basis;

and
1. During the Etimination Period you are Totally Disabled;

"Totally Disabled” or "Total Disability’ means that, due to sickness, pregnancy or accidental injury,
you are receiving Appropriate Care and Treatment from a Doctor on a continuing basis, and during
your Elimination Period, you are unable to perform your Own Occupation for any employer in your

Local Economy.

2. after your Elimination Period and during the next 24 month period, you are unable to earn more than
80% of your Predisability Earnings at your Own Occupation for any employer in your Local Economy;

or

3. after the 24 months period, you are unable to earn more than 60% of your Predisability Earnings from
any employer in your Local Economy at any gainful occupation for which you are reasonable qualified
taking into account your training, education, experience and Predisability Earnings.

If you are a member of Class Il, "Disabled" or "Disability" means that, due to sickness, pregnancy or
accidental injury, you are receiving Appropriate Care and Treatment from a Doctor on a continuing basis;
and

1. During the Elimination Period you are Totally Disabled;

2. after your Elimination Period and during the next 60 month period, you are unable to earn more than
80% of your Predisability Earnings at your Own Occupation for any employer in your Local Economy;

or

3. after the 60 month period, you are unable to earn more than 60% of your Predisability Earnings from
any employer in your Local Economy at any gainful occupation for which you are reasonable qualified
taking into account your training, education, experience and Predisability Earnings.

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If you are a member of Class III, "Disabled" or "Disability" means that, due to sickness, pregnancy or
accidental injury, you are receiving Appropriate Care and Treatment from a Doctor on a continuing basis
and

1. During the Elimination Period you are Totally Disabled;

2. after your Elimination Period, you are unable to earn more than 80% of your Predisability
Earnings at your Own Occupation from any employer in your Local Economy.

Your loss of earnings must be a direct result of your sickness, pregnancy or accidental injury. Economic
factors such as, but not limited to, recession, job obsolescence, pay cuts and job-sharing will not be
considered in determining whether you meet the loss of earnings test.

For an employee whose occupation requires a license, "loss of license" for any reason does not, in itself,
constitute Disability.

"Appropriate Care and Treatment" means medical care and treatment that meet all of the following:

1. it is received from a Doctor whose medical training and clinical experience are suitable for treating
your Disability;

2. it is necessary to meet your basic health needs and is of demonstrable medical value;

3. it is consistent in type, frequency and duration of treatment with relevant guidelines of national
medical, research and health care coverage organizations and governmental agencies;

4. it is consistent with the diagnosis of your condition; and
5. its purpose is maximizing your medical improvement.

"Doctor" means a person who: (i) is legally licensed to practice medicine; and (ii) is not related to you. A
licensed medical practitioner will be considered a Doctor:

1. if applicable state law requires that such practitioners be recognized for the purposes of certification
of disability; and

2. the care and treatment provided by the practitioner is within the scope of his or her license.

"Own Occupation" means the activity that you regularly perform and that serves as your source of income. It
is not limited to the specific position you held with your Employer. It may be a similar activity that could be
performed with your Employer or any other employer.

"Local Economy” means the geographic area surrounding your place of residence which offers reasonable
employment opportunities. It is an area within which it would not be unreasonable for you to travel to secure
employment. If you move from the place you resided on the date you became Disabled, we may look at
both that former place of residence and your current place of residence to determine local economy.

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Work Incentive

While you are Disabled and Monthly Benefits are being paid fo you, you are encouraged to work or
participate in a Rehabilitation Program.

If you are a member of Class |, your Monthly Benefit will end on the date you cease or refuse to participate
in a Rehabilitation Program approved by your.Doctor.

When you work while Disabled, you will receive the sum of the following amounts:
1. your Monthly Benefit; and
2. the amount of your earnings for working while Disabled.

During the 12 month period following your Elimination Period, your Monthly Benefit will be reduced if the
total amount you receive from the above sources and Other Income Benefits exceeds 100% of your
Predisability Earnings. Your Monthly Benefit will be reduced by that portion of the amount you receive which
exceeds 100% of your Predisability Earnings.

After the 12 month period described above, your Monthly Benefit will be reduced by 50% of your earnings
from working while Disabled. Your Monthly Benefit will be further reduced if the total amount you receive
from the above sources and Other Income Benefits exceeds 80% of your Predisability Earnings. Your
Monthly Benefit will be reduced by that portion of the amount you receive which exceeds 80% of your

Predisability Earnings.

If your Monthly Benefit is reduced as a result of your receiving eamings from any work or service while
Disabled, the Minimum Monthly Benefit will not apply.

"Rehabilitation Program" means:

1. a return to active employment by you on either a part-time or full-time basis in an attempt to enable
you to resume gainful employment or service in an occupation for which you are reasonably
qualified taking into account your training, education, experience and past earnings; or

2. participating in vocational training or physical therapy. This must be deemed by one of our
rehabilitation coordinators to be appropriate.

Predisability Earnings

"Predisability Earnings" means your total compensation as determined by your Employer, as of the day prior
to the date your Disability begins.

Total compensation is updated each January 1°" and is calculated on a yearly basis as of June 30" of the
prior calendar year. Total compensation will include:

1. annual base salary as of June 30" of the prior year; and

2. commissions paid during the calendar year preceding the prior year; and

3. bonuses paid (excluding any annual incentive) during the calendar year preceding the prior year;

4, annual discretionary awards dated in the current year for the prior year's performance, and

5, any short term disability benefit paid to commission-only employees in the calendar year that

precedes the prior year, and as determined by the Employer for subsequent years.

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If you are hired or re-hired on or after June 30th of the prior year, your Predisability Earnings is your annual
base pay as of your date of hire or re-hire.

If you are a Global Wealth Management Financial Advisor, your Predisability Earnings is deemed to be
$60,000 in your first year of employment. If you earned more than $60,000 at a previous employer in the
prior year, and want your insurance coverage to represent your prior earnings, you must provide a copy of
your previous year's Internal Revenue Service Form W-2 Wage and Tax Statement to your Employer within

30 days after your date of hire.

Predisability Earnings do not include:

1. overtime pay;

2. your Employer's contributions on your behalf to any deferred compensation arrangement or pension
plan; or

3. any other compensation.

B. Reduction of Benefits - Other Income Benefits

Your Monthly Benefit is reduced by Other Income Benefits shown below. The Monthly Benefit payable to

you:

1. will not be less than the amount shown in Plan Highlights under Minimum Monthly Benefit (except in
the case of an Overpayment or while receiving work earnings);

2. will not be further reduced due to cost-of-living increases payable under Other Income Benefits after
the correct reduction has been determined:

3. will not be reduced by any reasonable attorney fees included in any award or settlement; and

4. will not be reduced by any sources other than those shown below.

If you receive Other Income Benefits in a lump sum instead of in monthly payments, you must provide to us
satisfactory proof of the breakdown of: (i) the amount attributable to lost income; and (ii) the time period for
which the lump sum is applicable. If you do not provide this information to us, we may reduce your Monthly
Benefit by an amount equal to the Monthly Benefit otherwise payable. We will reduce the Monthly Benefit
each month until the lump sum has been exhausted. However, if we are given proof of the time period and
amount attributable to lost income, we will make a retroactive adjustment.

List of Sources of Other Income Benefits

1. Federal Social Security Act, Railroad Retirement Acf, Canada Pension Plan, or any
provincial pension or disability plan, or the Canada Old Age Security Act

a. benefits that you receive because of your disability or retirement will be counted; and
b. benefits available with respect to your spouse and dependents (regardless of marital status
or their place of residence) because of your disability or retirement will be counted. If you

are divorced or legally separated, benefits paid directly to your dependents and not taken
into constructive receipt by you will not be counted.

Estimating Social Security Benefits

We reserve the right to reduce your Monthly Benefit by estimating the Social Security disability
benefits you may be eligible to receive.

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Your Monthly Benefit will not be reduced by estimated Social Security disability benefits during the
first 24 months of Monthly Benefit payments if, prior to the end of the 6 month period following the
date you became disabled:

1. you provide proof that you have applied for Social Security disability benefits;

2. you have signed the Reimbursement Agreement which confirms that you will repay all
Overpayments; and

3. you have signed the form authorizing the Social Security Administration to release
information on awards directly to us.

if you have not received approval or final denial of your claim from the Social Security
Administration by the end of this 24 month period, we will begin reducing your Monthly Benefit by an
estimate of Social Security disability benefits. For purposes of this section, final denial of your claim
means that you have received a “Notice of Denial of Benefits” from an Administrative Law Judge.

In any case, when you do receive approval or final denial of your claim from the Social Security
Administration:

1. your Monthly Benefit will be adjusted; and

2. you must promptly refund to us an amount equal to all Overpayments. If you do not
promptly make such a refund to us, we may, at our option, reduce or offset against any
future benefits payable to you, including the Minimum Benefit.

2. Group Insurance Policies

Group insurance policies will be counted if the Employer contributes towards them or makes payroll
deduction for any of the following:

a. other group health insurance policies will be counted to the extent that they provide benefits
for loss of time from work due to disability; and

b. a group life policy that provides installment payments for permanent total disability will be
counted.
3. Work Earnings will not be used to reduce your Monthly Benefit except as described in Work
Incentive.
4, Employer's Retirement Plan

Benefits for disability and/or retirement that you receive under the Employer's retirement plan will be
counted to the extent they are attributable to the Employer's contributions.

Benefits under the Employer's retirement plan that are payable for disability is money which:
a. is payable under a retirement plan due to a disability as defined in that plan; and
b. does not reduce the amount of money which would have been paid as retirement benefits

at the normal retirement age under the plan if the disability had not occurred. (If the
payment does cause such a reduction it will be deemed a retirement benefit as defined

below.)

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Benefits under the Employer's retirement plan that are payable upon retirement is money which:

a,

is payable under the Employer's retirement plan either in a lump sum or in the form of
periodic payments;

is payable upon:
i. the later of age 62 or normal retirement age as defined in the retirement plan;

ii. early retirement age as defined in the retirement plan. (You must have voluntarily
elected to receive payments prior to your normal retirement age); or

iii. disability as defined in the retirement plan. (You must have voluntarily elected to
receive payment prior to your normal retirement age and such payment does
reduce the amount of money which would have been paid at the normal retirement
age under the plan if the disability had not occurred); and

NOTE: You will be considered to have voluntarily elected to receive payments if you file an
application for benefits with the Retirement Plan and request the start of payments prior to
your normal retirement age.

does not represent contributions made by you. Payments which represent your
contributions are deemed to be received over your expected remaining life regardless of
when such payments are actually received.

The Employer's Retirement Plan is a plan which provides retirement benefits to Employees and
which is not funded wholly by Employee contributions. The term shall not include the following,
regardless of the source of contributions:

a. profit sharing plans;
b. thrift or savings plans;
c. non-qualified plans of deferred compensation;
d. plans under IRC Section 401(k) or 457;
e. individual retirement accounts (IRA);
f. tax sheltered annuities (TSA) under IRC Section 403(b);
g. stock ownership plans; or
h. Keogh (HR-10) plans.
5. No-fault Auto Laws

Only the basic reparations portion for loss of income of a law providing for payments without
determining fault in connection with automobile accidents will be counted. Supplemental disability
benefits you buy under a no-fault auto law will not be counted.

6. Other Programs or Plans including:

a.

a compulsory benefit program of any government which provides payment for loss of time
from your job because of your disability will be counted;

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b. any other group disability income plan, fund, or other arrangement, no matter what called, if
the Employer contributes toward it or makes payroll deductions for it, will be counted; or

c. any sick pay or other salary continuation, other than vacation pay, paid to you by the
Employer will be counted.

7. Workers’ Compensation or a Similar Law

Periodic benefits and substitutes and exchanges for periodic benefits will be counted.
8. Occupational Disease Laws
9. Maritime Maintenance & Cure

10. Third Party Recovery

The amount of recovery you receive for loss of income as a result of claims against a third party by
judgment, settlement or otherwise.

11. Unemployment Insurance Law or Program
Exceptions to Other Income Benefits

Other Income Benefits will not include:

1. group credit or mortgage disability insurance benefits; or

2. early retirement benefits not taken into constructive receipt; or
3. individual insurance policies.

Cc. Supplemental Benefits

Survivors Benefit

If you die while you are receiving benefit payments under This Plan, your spouse or unmarried children
under age 25 may be eligible for a lump sum Survivors Benefit.

The amount of the Survivors Benefit is equal to 6 times the Monthly Benefit before reductions for Other
Income Benefits. The amount of Survivors Benefit payable is reduced by any Overpayment which we are
entitled to recover.

We will pay the Survivors Benefit to your Eligible Survivor, if the following conditions are met:

1. you have completed your Elimination Period;

2. you are eligible to receive a Monthly Benefit at the time of death;
3. you have an Eligible Survivor; and

4. proof of your death is provided to us.

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An Eligible Survivor is one of the following:

1. your surviving spouse, civil union partner or Domestic Partner; or

2. if there is no surviving spouse, your unmarried children or your spouse's unmarried children under
age 25. The term children also includes adapted children and children placed for adoption until legal

adoption. Payment will be divided into equal shares among the eligible children.

“Domestic Partner” means each of two people, one of whom is an Employee of the Employer who
represent themselves publicly as each other's domestic partner and have:

1. registered as domestic partners or members of a civil union with a government agency or office where
such registration is available; or

2. submitted a domestic partner declaration to the Employer.

The domestic partner declaration must be signed by both parties, and establish that:

1, each person is 18 years of age or older;

2. neither person is married;

3. neither person has had another domestic partner within 6 months prior to the date of the declaration;
4. they have shared the same residence for at least 6 months prior to the date of the declaration;

5. they are not related by blood in a manner that would bar their marriage in the jurisdiction in which they
reside;

6. they have an exclusive mutual commitment to share the responsibility for each other's welfare and
financial obligations which commitment existed for at least 6 months prior to the date of the declaration,
and such commitment is expected to last indefinitely; and

7. 2 or more of the following exist as evidence of joint responsibility for basic financial obligations to be
submitted to Employer:

a. a joint mortgage or lease; and

b. designation of the Domestic Partner as beneficiary for life insurance or retirement benefits; joint
wills or designation of the Domestic Partner as executor and/or primary beneficiary; and

c. designation of the Domestic Partner as durable power of attomey or health care proxy; and
d. ownership of a joint bank account, joint credit cards; and
e, other evidence of economic interdependence.

We will pay a Survivors Benefit to your Eligible Survivor on the date one month after the last Monthly Benefit
payment was made before your death. However, if there is no Eligible Survivor on the date payment is due
to be paid, no payment will be made.

Payment to a minor child may be made to an adult who submits proof satisfactory to us that he/she has
assumed custody and support of the child.

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Conversion Privilege

You may be eligible to convert to a long term disability conversion plan when your employment ends. This
plan only provides coverage for long term disabilities. Evidence of Good Health will not be required.
However, you must meet the following conditions:

1. you must have been covered under this Conversion Privilege, or a similar Conversion Privilege
under a plan that This Plan replaced, for at least 12 months prior to the date your employment ends;

2. your coverage under This Plan must end as a result of termination of your employment with the
Employer, other than as a result of retirement; and

3. you apply in writing and pay the first premium for the long term disability conversion plan within 31
days after your coverage under This Plan ends.

The maximum amount you may convert is $3,000.

This Conversion Privilege is not available to you ff:

1. your coverage under This Plan ends for any of the following reasons:
a. This Plan ends;
b. This Plan is amended to exclude the class of Employees to which you belong;
c. you no longer belong to a class of Employees eligible for coverage under This Plan;
d. you retire; or
e. you do not make a payment which is required by the Employer to the cost of This Plan.
2. you are Disabled under the terms of This Plan; or
oe you become covered under any other long term disability plan within 31 days after your coverage

under This Plan ends.

The conversion coverage will become effective on the day after your coverage under This Plan ends. The
format, benefits provided, premium, and other terms of the conversion coverage may differ from those
provided under This Plan. We reserve the right to have the conversion coverage issued by another
insurance company.

D. Temporary Recovery

Once benefits become payable under This Plan, you may Temporarily Recover from your Disability. If you
become Disabled again due to the same or related condition, you may not have to begin a new Elimination

Period.

Once you have satisfied your Elimination Period, a period of Temporary Recovery is your return to work for
less than 6 months for each period of Temporary Recovery.

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During the Temporary Recovery you will not qualify for any change in coverage caused by a change in any
of the following:

1. the rate of earnings used to determine your Predisability Earnings; or
2. the terms, provisions, or conditions shown in your Certificate of Insurance.

lf your recovery lasts longer than the Temporary Recovery period allowed, when you become Disabled
again you will have to begin a new Elimination Period.

E. Concurrent Disability

If a new Disability occurs while Monthly Benefits are payable, it will be treated as part of the same period of
Disability. Monthly Benefits will continue while you remain Disabled. They will be subject to both of the

following:

1. the Maximum Benefit Duration; and

2s Limitations and Exclusions that apply to the new cause of Disability.
F. Limitations

Limitation for Pre-existing Conditions

You may be Disabled due to a Pre-existing Condition. No benefits are payable under This Plan in
connection with that Disability unless your Elimination Period starts after you have been an Active Employee
under This Plan for 12 consecutive months.

A Pre-existing Condition is an injury, sickness, or pregnancy for which you in the 3 months before your
Effective Date:

1, received medical treatment, consultation, care, or services;
2. took prescription medications or had medications prescribed; or
3. had symptoms or conditions which would cause a reasonably prudent person to seek diagnosis,

care, or treatment.

If you cannot satisfy the above limitation and you were covered under the plan that This Plan replaced at the
time of transfer, benefits may be payable under This Plan. We will give consideration towards the
continuous time you were covered under the prior plan and This Plan. If you then satisfy the above
limitation, the maximum Monthly Benefit payable under This Plan will not exceed the lesser of: (i) the
Maximum Benefit under This Plan; and (ii) the maximum benefit under the prior plan.

Limitation for Disability due to Mental or Nervous Disorders or Diseases, and Drug, Alcohol or
Substance Abuse or Dependency

Monthly Benefits are limited to 24 months during your lifetime if you are Disabled due to:
1. alcohol abuse;

2. drug or substance addiction; or

3. Mental or Nervous Disorders or Diseases. 000 042 EXHIBIT A

If your Disability is due to alcohol abuse, drug or substance addiction, we require you to participate in an
alcohol, drug or substance addiction recovery program recommended by a Doctor. We will end Monthly

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Benefit payments as of the earliest of the period described above or the date you cease, refuse to
participate, or complete such recovery program.

If you are confined in a Hospital or Institution for treatment at the end of the 24 month period, your Benefits
will continue until the date you are discharged.

This limitation will not apply to a Disability resulting from:

1. schizophrenia;

2. bipolar disorder;

3. dementia; or

4, organic brain disease.

"Hospital or Institution" means a facility licensed to provide care and treatment for your condition. Rest
homes, nursing homes, convalescent homes, homes for the aged, and facilities primarily affording custodial,
educational, or rehabilitative care are not acceptable as hospitals or institutions under This Plan.

“Mental or Nervous Disorder or Disease" means a medical condition which meets the diagnostic criteria
set forth in the most recent edition of the Diagnostic And Statistical Manual Of Mental Disorders as of the
date of your Disability. A condition may be classified as a Mental or Nervous Disorder of Disease
regardless of its cause.

In no event will Monthly Benefits be payable longer than the Maximum Benefit Duration shown in the Plan
Highlights.

G. Exclusions

This Plan does not cover any Disability which results from or is caused by or contributed to:

1. war, insurrection, or rebellion;

2. active participation in a riot;

3. intentionally self-inflicted injuries or attempted suicide; or
4. committing a felony.

“Participation” means all forms of taking part in, except actions taken in defense of:
1, public or private property;

2. yourself; or

 

unless such actions are taken against persons seeking to maintain or restore law and order.

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“Riot” means all forms of public violence, disorder or disturbance of the peace by three or more persons. It
does not matter whether:

1. there was common intent; or
2. there was intent to damage any person or property, or to break the law,

Form G.24303-1
as amended by GCSCRO04-1/ctg and GCRO2-dp

TERMINATION OF COVERAGE
This provision applies to you if you are not Disabled.

You will cease to be covered on the earliest of the following dates:

1. the date This Plan terminates;

2. the date you cease to be an Eligible Employee;

3. the date you stop making any required contributions;
4, the date you go on strike or are locked out; or

5, the date you are laid-off.

Approved Leave of Absence

Your Employer may continue your coverage for an approved leave of absence by paying the required
premium payments. Coverage may continue until the earliest of:

1. the date the Employer stops paying the required premium;
2. the date the leave ends; or
3. the last day of the month in which your leave of absence begins.

In the event the leave qualifies under the Family and Medical Leave Act of 1993 (FMLA), the period may be
extended for a period agreed to by you and your Employer. It may not exceed 12 weeks following the date
the leave begins. Your Employer must continue to pay the required premium.

In Connecticut, the FMLA period can be up to 16 weeks in any 12-month period following the date the
leave of absence begins.

Reinstatement of Coverage

If your coverage ends, you may become covered again as an Eligible Employee. Coverage is subject to the
following:

1. If your coverage ends because you cease to be an Eligible Employee, and if you become an
Eligible Employee again within 3 months, the Eligibility Waiting Period wilf be waived. You will not
have to provide Evidence of Good Health.

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2. If your coverage ends because you cease making the required contribution while on an approved
Family Medical Leave Act (FMLA) leave of absence, and you become an Eligible Employee again
within 31 days of the earlier of:

a. the end of the period of leave you and your Employer agreed upon; or
b. the end of the 12 week period following the date your leave began;

the Eligibility Waiting Period will be waived and you will not have to provide Evidence of Good
Health.

3. In all other cases, if your coverage ends because you fail to make the required contribution, you
must provide Evidence of Good Health to become covered again.

4, If you become covered again as described in 1. and 2. above, the Pre-existing Condition Limitation
will be applied as if there had been no gap in coverage.

Form G.24303-D

EXTENSION OF BENEFITS

This provision applies if your coverage ceases while you are Disabled.

During your Elimination Period your coverage will continue while you are continuously Disabled until the end
of your Elimination Period. Benefits will begin after the end of your Elimination Period. Your coverage will
continue in either of the following situations:

1. This Plan terminates; or
2. you cease to be an Eligible Employee but required payments are made to us.

Benefits are payable if your Disability began while coverage was in force and continues without interruption
after termination.

Extension of benefits beyond the period coverage was in force is limited to the Maximum Benefit Duration.
Extension of benefits is subject to all of the following:

1. your Elimination Period; and
2. payment of any required contributions; and
3. all other applicable provisions of This Plan.

Form G.24303-C

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CLAIMS

Notice of Disability
Notify us of your Disability as soon as you are able.

To notify us you may call us directly. You may obtain this phone number from your Employer, You will be
instructed on how to give proof of Disability. You will be required to answer all questions concerning your
Disability.

If you do not receive statements or instructions within 15 days after you have notified us, you may submit
your statement in a letter.

Proof of Disability
Provide proof of Disability within 3 months after the end of your Elimination Period.

No benefits are payable for claims submitted more than one year after the date of Disability. However, you
can request that benefits be paid for late claims if you can show that:

1. it was not reasonably possible to give written proof of Disability during the one year period; and
2. proof of Disability satisfactory to us was given to us as soon as was reasonably possible.

Documentation

At your expense, you must provide documented proof of your Disability. Proof includes, but is not limited to:

1. the date your Disability started;
2. the cause of your Disability; and
3. the prognosis of your Disability.

You will be required to provide signed authorization for us to obtain and release medical and financial
information, and any other items we may reasonably require in support of your Disability.

These will include but are not limited to:
1. proof of continuing Disability;

2. proof you have applied, or are not eligible, for Other Income Benefits. If you do not provide proof
you have applied for Other Income Benefits, we may reduce your Monthly Benefit. The reduction
will be based on our estimate of what you would be eligible to receive through proper and timely
pursuit;

3. proof that you applied for Social Security disability benefits until denied at the Administrative Law
Judge level; and

4, proof you have applied for Workers’ Compensation benefits or benefits under a similar law. If you
do not provide proof that you have applied for these benefits, we may reduce your Monthly Benefit.
The reduction will be based on our estimate of what you would be eligible to receive through proper
and timely pursuit.

If you do not provide satisfactory documentation within 60 days after the date we ask for it, your claim may

be denied. 000046 EXATY A

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Case 2:13-cv-01016-ABC-JC Document1 Filed 02/12/13 Page 47 of 57 Page ID#:49

Method of Payment
When we determine you are Disabled:

1. Monthly Benefits are paid one month after you qualify for them. Such benefits will be paid on a
monthly basis thereafter.

2, Benefits will be paid to you. However, benefits unpaid at your death will be paid to:
a. your spouse, if living; otherwise
b. your children, if living, divided equally;
Cc. your estate. If benefits are payable to your estate, we may pay up to $1,500 to someone

related to you by blood or by marriage whom we deem entitled fo this amount. We will be
discharged to the extent of any payment made in good faith.

3. Monthly Benefits due for a period of less than a month will be paid as a fraction of the Monthly
Benefit payable, calculated as: 1 divided by the number of days in the month.

Right To Recover Overpayments

We have the right to recover from you any amount that we determine to be an Overpayment. You have the
obligation to refund to us any such amount. Our rights and your obligations in this regard are also set forth in
the reimbursement agreement you are required to sign when you become eligible for benefits under This
Plan. This agreement: (i) confirms that you will repay all Overpayments; and (ii) authorizes us to obtain any
information relating to Other Income Benefits.

An Overpayment occurs when we determine that the total amount paid by us on your claim is more than the
total of the benefits due under This Plan. This includes any Overpayments resulting from:

1. retroactive awards received from sources shown in the List of Other Income Benefits;
2. fraud; or
3. any error we make in processing your claim.

The Overpayment equals the amount we paid in excess of the amount we should have paid under This
Plan. In the case of a recovery from a source other than This Plan, our Overpayment recovery will not be
more than the amount of the recovery.

You have the right to appeal any Overpayment recovery.

An Overpayment also occurs when payment is made by us that should have been made under another
group plan. In that case, we may recover the payment from one or more of the following:

1. any other insurance company;
2. any other organization; or
3. any person to or for whom payment was made.

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Case 2:13-cv-01016-ABC-JC Document1 Filed 02/12/13 Page 48 of 57 Page ID #:50

We may, at our option, recover the Overpayment by:
1. reducing or offsetting against any future benefits payable to you or your survivors:

2. stopping future benefit payments (including Minimum Benefits) which would otherwise be due under
This Plan. Payments may continue when the Overpayment has been recovered; or

3. demanding an immediate refund of the Overpayment from you.
Legal Actions

No legal action of any kind may be filed against us:

1. within the 60 days after proof of Disability has been given; or

2. more than three years after proof of Disability must be filed. This will not apply if the law in the area
where you live allows a longer period of time to file proof of Disability.

Medical Examinations

We will have the right to have you examined at reasonable intervals by medical specialists of our choice.
The examination will be at our expense. Failure to attend a medical examination or cooperate with the
medical examiner may be cause for denial or suspension of your benefits.

Incontestability of Coverage

This Plan cannot be declared invalid after it has been in force for 2 years. It can be declared invalid due to
non-payment of premium.

No statement of health used by any person to get coverage can be used to declare coverage invalid if the
person has been covered under This Plan for 2 years. In order to use a statement of health to deny
coverage before the end of 2 years, it must have been signed by the person. A copy of the signed statement
must be given to the person or the person's beneficiary.

Assignment

You may not assign your benefits. This means that you may not give or transfer your benefits to anyone
else.

Workers’ Compensation

This Plan is not in lieu of, and does not affect, any requirement for coverage by Workers' Compensation
Insurance or any government mandated temporary disability income benefits law.

Form G.24303-E

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Case 2:13-cv-01016-ABC-JC Document1 Filed 02/12/13 Page 49 0f 57 Page ID#:51

THIS IS THE END OF THE CERTIFICATE. THE FOLLOWING IS ADDITIONAL INFORMATION.

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Case 2:13-cv-01016-ABC-JC Document1 Filed 02/12/13 Page 500f57 Page ID #:52

SPECIAL SERVICES

SOCIAL SECURITY ASSISTANCE PROGRAM

If you become Disabled MetLife provides you with assistance in applying for Social Security disability
benefits. Before outlining the details of this assistance, you should understand why applying for Social
Security disability benefits is important.

Why You Should Apply For Social Security Disability Benefits

Both you and your Employer contribute payroll taxes to Social Security. A portion of those tax dollars are
used to finance Social Security's program of disability protection. Since your tax dollars help fund this
program, it is in your best interest to apply for any benefits to which you may be entitled. Your spouse and
children may also be eligible to receive Social Security disability benefits due to your Disability.

There are several reasons why it may be to your financial advantage to receive Social Security disability
benefits. Some of them are:

1. Avoids reduced retirement benefits

Should you become disabled and approved for Social Security disability benefits, Social Security
will freeze your earnings record as of the date Social Security determines that your disability has
begun. This means that the months/years that you are unable to work because of your disability
will not be counted against you in figuring your average earnings for retirement and survivors
benefit.

2. Medicare Protection

Once you have received 24 months of Social Security disability benefits, you will have Medicare
protection for hospital expenses. You will also be eligible to apply for the medical insurance
portion of Medicare.

3. Trial Work Period

Social Security provides a trial work period for the rehabilitation efforts of disabled workers who
return to work while still disabled. Full benefit checks can continue for up to 9 months during the
trial work period.

4. Cost of Living Increases Awarded by Social Security Will Not Reduce Your Disability
Benefits

MetLife will not decrease your Disability benefit by the periodic cost of living increases awarded
by Social Security. This is also true for any cost of living increases awarded by Social Security to
your spouse and children.

This is called a Social Security "freeze." It means that only the Social Security benefit awarded to
you and your dependents will be used by MetLife to reduce your Disability benefit; with the

following exceptions:
a. an error by Social Security in computing the initial amount;
b. a change in dependent status; or

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Case 2:13-cv-01016-ABC-JC Document1 Filed 02/12/13 Page51o0f57 Page ID #:53

c. your Employer submitting updated earnings records to Social Security for earnings
received prior to your Disability.

Over a period of years, the net effect of these cost of living increases can be substantial.

How MetLife Assists You in the Social Security Approval Process

As soon as you are approved for Disability benefits, MetLife begins assisting you with the Social Security
approval process.

1.

Contact Prior to Application For Social Security Disability Benefits

Before you even apply for Social Security disability benefits. We will help you determine the best
time to apply for Social Security disability benefits. A MetLife Case Management Specialist begins
assisting you with the application process at that time. The Specialist personally contacts you by
phone to explain, in detail, how to apply for Social Security disability benefits and the advantages
of doing this. We provide you with a list of items needed by Social Security in order to complete
your claim.

Assistance Throughout the Application Process

MetLife has a dedicated team of Social Security Specialists. These Specialists, many of whom
have worked for the Social Security Administration, are also located within our Claim Department.
They provide expert assistance upfront and help guide you through the application process.

Guidance Through Appeal Process by Social Security Specialists

Social Security disability benefits may be initially denied, but are often approved following an
appeal. If your benefits are denied, our dedicated team of Social Security Specialists provide
expert assistance on an appeal if your situation warrants continuing the appeal process. They
guide you through each stage of the appeal process. These stages may include:

a. Reconsideration by the Social Security Administration
b. Hearing before an Administrative Law Judge
c. Review by an Appeals Council established within the Social Security Administration in

Washington, D.C.
d. A civil suit in Federal Court
Social Security Attorneys and Vendors
Depending on your individual needs, MetLife may provide a referral to an attorney or vendor who
specializes in Social Security law. The cost for these attorneys is deducted from the amount you

must repay to us if the retroactive Social Security disability benefits you later receive result in
MetLife having paid more Disability benefits than we should have paid.

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Case 2:13-cv-01016-ABC-JC Document1 Filed 02/12/13 Page 52o0f57 Page ID #:54

EARLY INTERVENTION PROGRAM

The MetLife Early Intervention Program is offered to all covered Employees, and your participation is
voluntary. The program helps identify early those Employees who might benefit from vocational analyses
and rehabilitation services before they are eligible for Long Term Disability Benefits. Early rehabilitation
efforts are more likely to reduce the length of your disability and help you return to work sooner than
expected.

If you cannot work, or can only work part-time due to a disability, your Employer will notify MetLife. Our
Rehabilitation Coordinators may be able to assist you by:

1. Reviewing and evaluating your disabling condition, even before a claim for Long Term Disability
Benefits is submitted (with your consent);

2. Designing individualized return to work plans that focus on your abilities, with the goal of return to
work;

3. Identifying local community resources;

4. Coordinating services with other benefit providers, including: medical carrier, short term disability
carrier*, workers’ compensation carrier, and state disability plans;

5, Monitoring return to work plans in progress and modifying them as recommended by the attending

physician (with your consent).

Our assistance is offered at no cost to either you or your Employer.

* lf you also have MetLife Short Term Disability coverage or Salary Continuance Plan
Management, these services are provided automatically. Notification by your Employer is not
necessary.

RETURN TO WORK PROGRAM

Goal of Rehabilitation

The goal of MetLife is to focus on Employees’ abilities, instead of disabilities. This “abilities” philosophy is
the foundation of our Return to Work Program. By focusing on what Employees can do versus what they
can't, we can assist you in returning to work sooner than expected.

Incentives For Returning To Work

Your disability plan is designed to provide clear advantages and financial incentives for returning to work
either full-time or part-time, while still receiving a Disability benefit. In addition to financial incentives, there
may be personal benefits resulting from returning to work. Many Employees experience higher
self-esteem and the personal satisfaction of being self-sufficient and productive once again. If it is
determined that you are capable but you do not participate in the Return to Work Program, your Disability

benefits may cease.
Vocational Rehabilitation Services

As a covered Employee you are automatically eligible to participate in our Return to Work Program. The
Program focus is vocational rehabilitation, which means identifying the necessary training and therapy
that can help you return to work. In many cases, this means helping you return to your former occupation,
although rehabilitation can also lead to a new occupation which is better suited to your condition and

makes the most of your abilities.
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Case 2:13-cv-01016-ABC-JC Document1 Filed 02/12/13 Page 53 of 57 Page ID #:55

There is no additional cost to you for the services we provide, and they are tailored to meet your individual
needs. These services include, but are not limited to, the following:

1. Vocational Analyses

Assessment and counseling to help determine how your skills and abilities can be applied to a
new or a modified job with your Employer.

2. Labor Market Surveys

Studies to find jobs available in your locale that would utilize your abilities and skills,

3, Retraining Programs
Programs to facilitate return to your previous job, or to train you for a new job.

4. On-Site Job Analyses

Analyses to determine what modifications may be made to maximize your employment
opportunities.

5. Job Modifications/Accommodations

Changes in your job or accommodations to help you perform the previous job or a similar
vocation, as required of your Employer under the Americans With Disabilities Act (ADA).

6. Training in Job Seeking Skills

Special training to identify abilities, set goals, develop resumes, polish interviewing techniques,
and provide other career search assistance.

Rehabilitation Staff

The Case Management Specialist handling your claim will begin the rehabilitation process. You may be
referred to our professional Rehabilitation staff that includes Registered Nurses and vocational
rehabilitation coordinators. Registered Nurses might address how your medical condition impacts your
ability to return to work. Vocational rehabilitation coordinators will focus on identifying how your abilities
can be best applied to either your previous job or a new job.

These rehabilitation specialists will contact you personally. They will coordinate their activities with your
medical carrier and/or attending physician for a broad understanding of your diagnosis, prognosis, and
expected return to work date.

Rehabilitation Vendor Specialists

in many situations, the services of independent vocational rehabilitation specialists may be utilized.
Services are obtained at no additional cost to you; MetLife pays for all vendor services. Selecting a
rehabilitation vendor is based on:

1. Attending physician's evaluation and recommendations;
2. Your individual vocational needs; and
3. Vendor's credentials, specialty, reputation, and experience.

When working with vendors, you and your Doctor still maintain control and direction of the case.

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Case 2:13-cv-01016-ABC-JC Document1 Filed 02/12/13 Page 54 0f57 Page ID #:56

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Dolly Gee and the assigned discovery
Magistrate Judge is Jacqueline Chooljian.

The case number on all documents filed with the Court should read as follows:

CV13-1016 DMG (JCx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

a

( Western Division LJ Southern Division LJ Eastern Division
“. 312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you,

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:13-cv-01016-ABC-JC Document1 Filed 02/12/13 Page 55o0f57 Page ID #:57

Frank N. Darras #128904 (909) 390-3770
Lissa A. Martinez #206994

Susan B. Grabarsky #203004

Phillip S. Bather #273236

DARRASLAW

3257 East Guasti Road, Suite 300, Ontario, CA 91761
Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

STEVEN WEINSTEIN, CASE NUMBER

rc

PLAINTIFF(S) CV PH clSlg- WIVIGS ( J A]

Sond
Vv.

METROPOLITAN LIFE INSURANCE COMPANY; and,
CITIGROUP EMPLOYEE HEALTH AND WELFARE

BENEFIT PLAN, SUMMONS

 

DEFENDANT(S).

 

 

TO: DEFENDANT(S):

A lawsuit has been filed against you.

Within 2! days after service of this summons on you (not counting the day you received it), you

must serve on the plaintiff an answer to the attached K] complaint O amended complaint
0 counterclaim O cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiffs attorney, DARRASLAW , whose address is
3257 East Guasti Road, Suite 300, Ontario, California 91761 (909) 390-3770 . If you fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

Clerk, U.S. District Court

 

 

Sf in)? yh ~~ sane. n dt. He
Dated: O t oh A J By: Vee ~ 4 Vy Vv C PALA a v
Deputy Clerk
(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rude 12(a)(3)].

CV-OLA (10/11 SUMMONS

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www: Forms Work Flow. com |

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Case 2:13-cv-01016-ABC-JC Document1 Filed 02/12/13 Page 56 o0f57 Page ID #:58

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

 

I (a) PLAINTIFFS (Check box if you are representing yourself DJ)

DEFENDANTS

 

STEVEN WEINSTEIN, METROPOLITAN LIFE INSURANCE COMPANY; and,
CITIGROUP EMPLOYEE HEALTH AND WELFARE BENEFIT
PLAN,
(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing Attomeys (If Known)

yourself, provide same.)

DarrasLaw
3257 E. Guasti Road, Suite 300, Ontario, CA 91761

(909) 390-3770

 

 

II. BASIS OF JURISDICTION (Place an X in one box only.)

1 10U.S. Government Plaintiff

0 2 U.S. Government Defendant

3 Federal Question (U.S.

! Government Nota Party)

04 Diversity (Indicate Citizenship

of Parties in [tem ITD

 

III. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

Citizen of This State

Citizen of Another State

PTF
Ol

O2

Citizen or Subject of a Foreign Country 013

DEF PTF DEF

O11 Incorporated or Principal Place O4 O14
of Business in this State

O12 Incorporated and Principal Place O5 O05
of Business in Another State

(13 Foreign Nation O6 O6

 

I¥. ORIGIN (Place an X in one box only.)

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\
QW Original
‘ Proceeding

02 Removed from [13 Remanded from
State Court

Appellate Court

04 Reinstated or

Reopened

O15 Transferred from another district (specify):

O16 Multi- O17 Appeal to District
District Judge from
Litigation Magistrate Judge

 

Z
V. REQUESTED IN COMPLAINT: JURY DEMAND: 0 Yes No (Check ‘Yes’ only if demanded in complaint.)
CLASS ACTION under F.R.C.P. 23: 01 Yes

No

O MONEY DEMANDED IN COMPLAINT: $

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
28 U.S.C.8§1331, 1337 & 29 U.S.C.81132(a),(e),() & (g) of the Employee Retirement Income Security Act of 1974, 29 U.S.C.§1101, et seq.

VIL. NATURE OF SUIT (Place an X in one box only.)

 

OTHER STATUTES

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State Reapportionment
Antitrust

Banks and Banking
Commerce/ICC
Rates/etc.

Deportation

Racketeer Influenced
and Corrupt
Organizations
Consumer Credit
Cable/Sat TV

Selective Service
Securities/Commodities/
Exchange

Customer Challenge 12
USC 3410

Other Statutory Actions
Agricultural Act
Economic Stabilization
Act

Environmental Matters
Energy Allocation Act
Freedom of Info. Act
Appeal of Fee Determi-
nation Under Equal
Access to Justice
Constitutionality of
State Statutes

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CONTRACT
Insurance
Marine
Miller Act
Negotiable Instrument
Recovery of
Overpayment &
Enforcement of
Judgment
Medicare Act
Recovery of Defaulted
Student Loan (Excl.
Veterans)
Recovery of
Overpayment of
Veteran’s Benefits
Stockholders’ Suits
Other Contract
Contract Product
Liability
Franchise

REAL PROPERTY

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Land Condemnation
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Torts to Land

Tort Product Liability
All Other Real Property

 

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Airplane
Airplane Product
Liability
Assault, Libel &
Slander

Fed. Employers’
Liability

Marine

Marine Product
Liability

Motor Vehicle
Motor Vehicle
Product Liability
Other Personal
Injury

Personal Injury-
Med Malpractice
Personal Injury-
Product Liability
Asbestos Personal
Injury Product
Liability

IMMIGRATION

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Naturalization
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Alien Detainee
Other Immigration
Actions

 

TORTS
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Property Damage
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> PRISONER)
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Other Food &
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Drug Related
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Liquor Laws
RR. & Truck
Airline Regs
Occupational
Safety /Health
Other

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Fair Labor Standards
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Security Act

PROPERTY RIGHTS

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SOGIAL SECURITY

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FEDERAL; TAX!SUITS

(1 870 Taxes (U.S. Plaintiff

or Defendant)

11871 IRS-Third Party 26

USC 7609

 

 

FOR OFFICE USE ONLY:

APTER COMPLETING THE FRONT SIDE OF

Case Number:

 

FORM C¥-71, COMPLIETIE THE INFORMATION REQUESTED BELOW,

 

CV-71 (05/08)

CIVIL COVER SHEL T

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www.FarmsWorkfiow.com

 
Case 2:13-cv-01016-ABC-JC Document1 Filed 02/12/13 Page 57 of57 Page ID #:59

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET
VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? YE No O Yes

If yes, list case number(s):
VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? Jno 0 Yes

 

If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) OA. Arise from the same or closely related transactions, happenings, or events; or
OB. Call for determination of the same or substantially related or similar questions of law and fact; or
CC. For other reasons would entajl substantial duplication of labor if heard by different judges; or
OD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or ¢ also is present

 

IX. VENUE: (When completing the following information, use an.additiona] sheet if necessary.)

(a) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
Check here if the government, its agencies or employees is anamed plaintiff. If this box is checked, go to item (b).

 

County in this District:* Califomia County outside of this District; State, if other than California; or Foreign Country

 

Los Angeles

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
O Cheek here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Metropolitan Life Insurance Company - New York
Citigroup Employee Health and Welfare Benefit Plan - New York

 

 

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: in land condemnation cases, use the lucaiion of the tract of taud invoived.

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Los Angeles

 

 

 

 

Barbara, or San Luis Obispo Counties

2 ARDC 3 Date February 11, 2013

LISSA A. MARTINEZ /

Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contdined herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Sa
Note: In land condemnation cases, use the location of the try

X. SIGNATURE OF ATTORNEY (OR PRO PERT:

 
   
 

 

Key to Statistical codes relating to Social Security Cases;

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

 

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended,

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

CY-7) (05/08) CIVIL COVER SHEET Page 2 of 2

 

 
 
  

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www. Forins Workfiow. com
